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Counsel to the Official Committee of Tort Claimants
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

PACIFIC GAS AND ELECTRIC
COMPANY,

Defendant.

 

 

I, Thomas Scott Hylton, pursuant to 28 U.S.C. § 1746, declare the following under penalty

of perjury:

1. I have been retained by Baker & Hostetler, LLP as an expert witness for the

Official Committee of Tort Claimants (the “TCC”) in connection with the Pacific Gas & Electric

FILED
FEB 27 2020

SUSAN Y. SOONG
CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA

No. CR 14-0175 WHA

SUPPLEMENTAL DECLARATION O
THOMAS SCOTT HYLTON
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(“PG&E”) chapter 11 bankruptcy case (Case No. 19-30088 (DM)) and estimation proceedings
(Case No. 19-05257 (JD)). All statements in this Declaration are based upon my personal
knowledge developed during the course of my engagement with the TCC.

2. During the show cause hearing on February 19, 2020, the Court requested that I
review high resolution photographs of Cresta-Rio Oso 230kV Transmission Line Tower 09/81
taken by Defendant’s drones. The Court further requested that I file a supplemental declaration
concerning what I think should have been done with respect to the Tower 09/81 issues I
identified, based on Defendant’s additional inspection photographs.

3. As a preliminary matter, I would note that I agree with the Court’s statement that
the photographs supplied by Defendant are not as high quality as the photographs I took from the
ground on December 9, 2019. That said, I was able to make several observations.

4. Photographs DJI_0385, DJI_0386, DJI_0391, and DJI_0392 show a single C-
Hook with rust and considerable material loss on the C-Hook and/or connection plate. I cannot
determine the specific amount of material loss without physically inspecting and measuring the
equipment.

5. Photograph DJI_0428 and DJI_0446 show the C-Hook that has black electrical
tape over roughly half of the hook. It raises a concern in my mind that no inspectors thought to
remove this tape, as it would be impossible to determine the condition of the portions of the hook
obscured by the tape with the human eye. I would be concerned that the hook may be cracked or
otherwise degraded under the tape. In addition, the C-Hook and/or connection plate appear to
have material loss and rust. In particularly, photograph DJI_0446 shows considerable rust on the
connection plate.

6. Photographs DJI_0436 and DJI_0447 also show the C-Heok that has black
electrical tape on it. The quality of the photographs is not as good as the others, but they appear to

show significant material loss to the C-Hook and/or connection plate.

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7s To my knowledge, PG&E will be performing maintenance work as a part of their
upcoming line clearance. I recommend replacement of the hanger ‘plates and C-Hooks under
PG&E’s next scheduled maintenance clearance.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

   
 

      
  

Dated: San Francisco IS Ce 5
February 25, 2020 Thomas Scott Hylton

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